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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN
 In re:
           Palace Theater, LLC                                     Case No. 21-11714
                                                                      Chapter 11
                                           Debtor.

     NOTICE AND APPLICATION BY DEBTOR FOR AUTHORITY TO EMPLOY
           MARTIN J. COWIE AS ACCOUNTANT FOR THE ESTATE

   NOW COMES Palace Theater, LLC, the Debtor and Debtor in possession in this case, by

attorneys, Steinhilber Swanson LLP, by Attorney Paul G. Swanson, and applies to the Court for

authority to employ a professional person, pursuant to 11 U.S.C. §§ 327(a) and 330, and Rule

2014, and in support thereof alleges as follows:

   1. On August 16, 2021, an Order for Relief under Chapter 11 of the Bankruptcy Code was

          entered in this case. Since that time, the Debtor has remained in possession of its

          property and is operating its business as Debtor in possession, pursuant to §§1107, 1108

          and 1184 of the Bankruptcy Code.

   2. The Debtor desires to employ Martin J. Cowie (hereinafter “Applicant”) in the

          professional capacity of Accountant for the estate.

   3. The professional services to be rendered are as follows:

             a. Compile monthly reports, perform projection and financial analysis, work on

                 financial aspects of the reorganization.

   4. The hourly rate for said professional services shall be $185.00 per hour. All

          professionals employed by Debtor understand and agree to keep detailed records of all

          time spent on these matters.

   5. Applicant is experienced in the matters for which it is to be employed and is qualified to

          represent the Debtor.


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   6. The Debtor has made efforts to obtain comparable services at a lower cost, but has

       determined that the rates charged by Applicant are comparable and reasonable given the

       work to be performed.

   7. The Debtor believes that Applicant is qualified for the reasons set forth above to act as

       Accountant for the estate. Therefore, the Debtor believes it is in the best interest of the

       estate to employ Applicant as a professional to perform the services as set forth at the

       cost set forth.

   8. The Debtor has read the attached Declaration in Support of this Application, made

       pursuant to F.R.B.P. 2014, and to the best of its knowledge, believes the Affidavit to be

       true and correct.

   9. No fees shall be paid to Applicant except upon proper application to and approval by the

       Court.

                                      Notice of Application

   10. Pursuant to Local Rule 2014, notice of this application must be served upon the United

       States Trustee, the Debtor, the Debtor's attorney, the attorney for any committee

       appointed under the Code, and any other person designated by the Court.

   11. The Debtor asserts that notice is hereby provided by the filing of this application via the

       Court's CM/ECF system, and any objections hereto must be filed within 14 days of

       today's date.

   WHEREFORE, the Debtor requests an Order authorizing the employment of the above

referenced professional in accordance with the terms and provisions of this application.




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 Dated this 16th day of August, 2021.          STEINHILBER SWANSON LLP

                                        By:            /s/ Paul G. Swanson
                                               Paul G. Swanson
                                               Attorney for the Debtor
                                               107 Church Avenue
                                               Oshkosh, WI 54901
                                               Tel: (920) 235-6690; Fax: (920) 426-5530




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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN
 In re:
           Palace Theater, LLC                                      Case No. 21-11714
                                                                       Chapter 11
                                            Debtor.

      DECLARATION IN SUPPORT OF APPLICATION BY DEBTOR FOR
 AUTHORIZATION TO EMPLOY MARTIN J. COWIE AS ACCOUNTANT FOR THE
                            ESTATE

   NOW COMES Martin J. Cowie, who makes the following statement under penalty of perjury:

   1. I received an accounting degree from the University of Wisconsin –Madison in 1975, passed

          the CPA exam in 1976, became a licensed CPA in 1981 (inactive in 1989), worked for certified

          public accounting firms from 1977 through 2003 performing audit, tax and consulting services,

          have worked as an independent business consultant from 2004 to the present performing

          forensic accounting, financial reorganization, merger and acquisition services, and bankruptcy

          support. I am presently providing bankruptcy support services for bankruptcy cases in both the

          WESTERN and Western districts of Wisconsin for clients represented by Steinhilber Swanson

          LLP (“Steinhilber”).

   2.     I have business offices located at 5162 Island View Drive, Oshkosh, WI 54901.

   3. The Debtor has asked that I perform the professional services as set forth on the Debtor’s

          application for employment on behalf of the estate. I am experienced and qualified in the

          matters for which I am to be employed as set forth in the Application.

   4. I am not:

             a. a creditor, an equity security holder or an insider of the Debtor;

             b. an investment banker for any outstanding security of the Debtor;




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          c. and have not been, within three years before the date of the filing of the petition in this

              case, an investment banker for securities of the Debtor, or an attorney for an investment

              banker in connection with securities of the Debtor;

          d. and have not been, within the two years before the date of the filing of the petition in

              this case, a director, officer, or employee of the Debtor or an investment banker

              specified in subparagraph b or c; or

          e. in a position materially adverse to the interest of the estate or of any class of creditors

              or equity security holders, by reason of any direct or indirect relationship to, connection

              with, or interest in, the Debtor or an investment banker specified in subparagraph b or

              c, or for any other reason.

   5. To the best of my knowledge, I do not hold or represent any interest adverse to the interest of

      the estate. I do not have any connection with the Debtor, creditors, any other party in interest,

      their respective attorneys and accountants, the United States Trustee, or any person employed

      in the office of the United States Trustee, except as follows:

          a. I have been or am presently employed as a professional in other cases in which

              Steinhilber was or is debtor’s counsel, and have worked or am working with Steinhilber

              on other financial workout matters outside of bankruptcy as well

   6. I have not shared or agreed to share, and will not share or agree to share, any compensation

      paid in connection herewith with any other person.

   7. I have received a retainer in the amount of 35,000.00 for work performed up to the filing of the

      petition and thereafter. Of this retainer,$10,360.00 was applied against pre-petition fees and

      costs, and $24,640.00 is held in trust, pending authorization by the Bankruptcy Court of post-

      petition fees and costs in this case.

   8. The rates to be charges are as follows: $185.00 per hour. I understand that I must keep detailed

      records of time and expenses.


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I verify, under penalty of perjury, that the foregoing is true and correct.

   Executed on August 16, 2021.
                                       By:            /s/ Martin J. Cowie
                                               Martin J. Cowie




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